           Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.1 Page 1 of 14
AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COUR
                                                                     for the                                           OCT 3 1 2019
                                                         Southern District of California
                                                                                                           CLERK, U.S. DISTRICT
                                                                                                      SOUTHERN DISTRICT OF
              In the Matter of the Search of                            )                             BY
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )         Case No.
              iPhone Model A1784 Black                                  )                    19MJ11290
        FCC ID: BCG-E3092A, IC: 579C-E3092A                             )
       FP&F 2019250300071101 (Target Device 3)                          )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A-3, incorporated herein by reference
located in the ___S_o_u_t_h_e_rn___ District of _____C_a_11_·to_r_n_ia_ _ _~ , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, incorporated herein by reference

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                         Offense Description

        21 U.S.C. §§ 952 and 960                  Importation of Methamphetamine

          The application is based on these facts:
        See attached Affidavit of Special Agent Akeim D. Guiden

           ii Continued on the attached sheet.
           O Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S. C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                            4                ~gM/We

                                                                                SA Akeim D. Guiden, Dep't of Homeland Security
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:                                                                          ~ - - - - - -
                  I    I
City and state: _E_I_C_e_n_t_ro_,_C_A_ _ _ _ _ _ __                         Hon. Ruth B. Montenegro, United States Magistrate Judge
                                                                                              Printed name and title
  Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.2 Page 2 of 14



                               ATTACHMENT A-3

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

            iPhone Model Al 784 Black
            FCC ID: BCG-E3092A
            IC: 579C-E3092A
            FP&F 2019250300071101
            ("Target Device 3")


Target Device 3 is currently in the possession of Homeland Security Investigations
(HSI), Homeland Security Investigations ASAC Calexico, 2015 N. Waterman El
Centro, CA 92243.
                     Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.3 Page 3 of 14




                                                                  ATTACHMENT B

                                                               ITEMS TO BE SEIZED

                      Authorization to search the cellular telephone described in Attachments A-1, A-
               2 and A-3 includes the search of disks, memory cards, deleted data, remnant data, slack
               space, and temporary or permanent files contained on or in the cellular telephone for
               evidence described below. The seizure and search of the cellular telephone shall follow
               the search methodology described in the affidavit submitted in support of the warrant.

                     The evidence to be seized from the cellular telephone will be electronic records,
               communications, and data such as emails, text messages, chats and chat logs from
               various third-party applications, photographs, audio files, videos, and location data, for
_. -.:_---::===- ._---::===the=-per:iod=of=A.:ugust==l=,=-20=1=-9-=-to=Septemb-er-2-;=20:l-9-:-=~:   --- --~ - -

                         a.        tending to indicate efforts to import methamphetamine, or some other
                                   federally controlled substance, from Mexico into the United States;

                         b.        tending to identify accounts, facilities, storage devices, and/or services-
                                   such as email addresses, IP addresses, and phone numbers-used to
                                   facilitate the importation of methamphetamine, or some other federally
                                   controlled substance, from Mexico into the United States;

                         c.        tending to identify co-conspirators, criminal associates, or others involved
                                   in importation of methamphetamine, or some other federally controlled
                                   substance, from Mexico into the United States;

                         d.        tending to identify travel to or presence at locations involved in the
                                   importation of methamphetamine, or some other federally controlled
                                   substance, from Mexico into the United States, such as stash houses, load
                                   houses, or delivery points;

                         e.        tending to identify the user of, or persons with control over or access to,
                                   the Target Devices; and/or

                         f.        tending to place in context, identify the creator or recipient of, or establish
                                   the time of creation or receipt of communications, records, or data involved
                                   in the activities described above;

               which are ev1dence of violations of Title 21, United States Code, Sections 952 and 960.
          Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.4 Page 4 of 14




  1                                         AFFIDAVIT
  2         I, Special Agent Akeim D. Guiden, being duly sworn, hereby state as follows:
  3                                     INTRODUCTION
  4          1.   I submit this affidavit in support of an application for a warrant to search the
  5 following electronic device(s):
  6                     Samsung Galaxy S9 Black
  7                     IMEI:353302093841388
  8                     FP&F 2019250300071101
  9                     ("Target Device 1")
_10_ ..
 11                     TCL: A501DL Black
 12                     IMEI:015293002622748
 13                     FP&F 2019250300071101
 14                     ("Target Device 2")
 15
 16                     iPhone Model Al 784 Black
 17                     FCC ID: BCG-E3092A
 18                     IC: 579C-E3092A
 19                     FP&F 2019250300071101
 20                     ("Target Device 3"), and collectively, the "Target Devices,"

 21
 22 as further described in Attachments A-1, A-2 and A-3 respectively, and to seize evidence
 23 of crimes, specifically violations of Title 21, United States Code, Section(s) 952 and 960,
 24 as further described in Attachment B.
 25         2.    The requested warrant relates to the investigation and prosecution of Joanna
 26 REGALADO ("REGALADO") and Juan Gabriel MEJIA ("MEJIA") for importing
 27 app_roximately 33 kilograms (72.6 pounds) of methamphetamine from Mexico into the
 28 United States. See US. v. REGALADO and MF,JJA, Case No. 19-mj-10585 (S.D. Cal.) at

                                                 1
       Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.5 Page 5 of 14




 1 ECF No. 1 (Complaint). The Target Devices are currently in the evidence vault located at
 2 Homeland Security Investigations ASAC Calexico, 2015 N. Waterman El Centro, CA
 3 92243.
 4         3.      The information contained in this affidavit is based upon my training,
 5 experience, investigation, and consultation with other members of law enforcement.
 6 Because this affidavit is made for the limited purpose of obtaining a search warrant for the
 7 Target Devices, it does not contain all the information known by me or other agents
 8 regarding this investigation. All dates and times described are approximate.
 9                                        BACKGROUND
10         _4_._   l _have__heen__empLQyed __a_s a__Special Agent_ with Hom~land_ _Security
11 Investigations (HSI) since October 2018. I am currently assigned to the HSI Office of the
12 Assistant Special Agent in Charge, in Calexico, California. I am a graduate of the Federal
13 Law Enforcement Training Center in Glynco, Georgia.
14         5.      During my tenure with HSI, I have participated in the investigation of various
15 drug trafficking organizations involved in the importation and distribution of controlled
16 substances into and through the Southern District of California.
17         6.      Through my training, experience, and conversations with other members of
18 law enforcement, I have gained a working knowledge of the operational habits of narcotics
19 traffickers, in particular those who attempt to import narcotics into the United States from
20 Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
21 work in concert with other individuals and to do so by utilizing cellular telephones. Because
22 they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
23 out various tasks related to their trafficking activities, including, e.g., remotely monitoring
24 the progress of their contraband while it is in transit, providing instructions to drug couriers,
25 warning accomplices about law enforcement activity, and communicating with co-
26 conspirators who are transporting narcotics and/or proceeds from narcotics sales.
27         7.      Based upon my train.ing, experience, anq. consultations with law enforcement
28 offic.ers experienced in narcotics trafficking investigations, and all the facts and opinions

                                                  2
       Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.6 Page 6 of 14




 1 set forth in this affidavit, I know that cellular telephones (including their Subscriber
 2 Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
 3 for example, phone logs and contacts, voice and text communications, and data, such as
 4 emails, text messages, chats and chat logs from various third-party applications,
 5 photographs, audio files, videos, and location data. In particular, in my experience and
 6 consultation with law enforcement officers experienced in narcotics trafficking
 7 investigations, I am aware that individuals engaged in drug trafficking commonly store
 8 photos and videos on their cell phones that reflect or show co-conspirators and associates
 9 engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
1O and assets . from drug trafficking, and communications to and fro:rrL recruiters and
11 orgamzers.
12        8.     This information can be ·stored within disks, memory cards, deleted data,
13 remnant data, slack space, and temporary or permanent files contained on or in the cellular
14 telephone. Specifically, searches of cellular telephones may yield evidence:
15               tending to indicate efforts to import methamphetamine, or some other
          a.
16               federally controlled substance, from Mexico into the United States;
17               tending to identify accounts, facilities, storage devices, and/or services-
          b.
18               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate the importation of methamphetamine, or some other federally
19
                 controlled substance, from Mexico into the United States;
20
          C.     tending to identify co-conspirators, criminal associates, or others involved
21
                 in importation of methamphetamine, or some other federally controlled
22               substance, from Mexico into the United States;
23
          d.     tending to identify travel to or presence at locations involved in the
24               importation of methamphetamine, or some other federally controlled
                 substance, from Mexico into the United States, such as stash houses, load
25
                 houses, or delivery points;
26
          e.     tending to identify the user of, or persons with control over or access to,
27
                 the Target Devices; and/or
28

                                               3
        Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.7 Page 7 of 14



            f.    tending to place in context, identify the creator or recipient of, or establish
 1
                  the time of creation or receipt of communications, records, or data involved
 2                in the activities described above.
 3                        FACTS SUPPORTING PROBABLE CAUSE
 4
            9.    On September 1, 2019, at approximately 10:15 a.m., REGALADO and
 5
     MEJIA applied for permission to enter the United States at the Calexico West, California
 6
     Port of Entry. REGALADO was the driver of a 2015 Dodge Challenger and MEJIA was
 7
     the passenger. REGALADO and MEJIA were referred to secondary inspection, and
 8
     Customs and Border Protection Officers discovered 70 packages concealed within the rear
 9
     quarter panel of the vehicle. The packages weighed approximately 33kilograms (72.6 lbs.),
LO ~aha~ field-testecl. ~~positive ~as methamphetamine. REGALADO~ anc1~~METIA were
11
     subsequently arrested and the Target Devices were seized from the vehicle. After checking
12 the vehicle in a law enforcement database system, it was determined that REGALADO
13
   was the registered owner of the vehicle.
14       10. While agents asked REGALADO and MEJIA biographical questions, MEJIA
15 stated that Target Device 1 belonged to him and REGALADO stated that Target Devices
16
   2 and 3 belonged to her.
17        11. Later, agents read REGALADO and MEJIA their Miranda rights, and both
18 defendants declined to speak to agents without an attorney present.
19        12. In light of the above facts and based on my own experience and training, there
20 is probable cause to believe that REGALADO and MEJIA were using the Target Devices
21 to communicate with each other and others to further the importation of illicit narcotics
22 into the United States. Based on these facts, particularly the common use of telephones to
23 facilitate drug trafficking, it is my belief that the Target Devices contain evidence of
24 REGALADO and l\1EJIA's violations of Title 21, United States Code, Sections 952 and
25
     960.
26          13.   In my training and experience, narcotics traffickers may be involved in the
27 planning and coordination of a drug smuggling event in the days and weeks prior to an
28 event. Co-conspirators are also often unaware of a defendant's arrest and will continue to

                                                  4
          Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.8 Page 8 of 14




   1 attempt to communicate with a defendant after their arrest to determine the whereabouts of
   2 the narcotics. Based on my training and experience, it is also not unusual for individuals,
   3 such as Defendants, to attempt to minimize the amount of time they were involved in their
   4 smuggling activities, and for the individuals to be involved for weeks and months longer
   5 than they claim. Accordingly, I request permission to search the Target Devices for data
   6 beginning on August 1, 2019 up to September 2, 2019, which was the day following
   7 REGALADO and MEJIA's arrest.
   8                                     METHODOLOGY
   9         14.   It is not possible to determine, merely by knowing the cellular telephone's
___ l O make, model and serialnumbe_r, the_nature __and cy_p_es_ofservices to which the device is_ __
  11 subscribed and the nature of the data stored on the device. Cellular devices today can be
  12 simple cellular telephones and text message devices, can include cameras, can serve as
  13 personal digital assistants and have functions such as calendars and full address books and
 14 can be mini-computers allowing for electronic mail services, web services and rudimentary
  15 word processing. An increasing number of cellular service providers now allow for their
 16 subscribers to access their device over the internet and remotely destroy all of the data
 17 contained on the device. For that reason, the device may only be powered in a secure
 18 environment or, if possible, started in "flight mode" which disables access to the network.
 19 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
 20 equivalents and store information in volatile memory within the device or in memory cards
 21 inserted into the device. Current technology provides some solutions for acquiring some of
 22 the data stored in some cellular telephone models using forensic hardware and software.
 23 Even if some of the stored information on the device may be acquired forensically, not all
 24 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 25 data acquisition or that have potentially relevant data stored that is not subject to such
 26 acquisition, the examiner must inspect the device manually and record the process and the
 27 results u~ing digital photography. This process is time and labor intensive and may take
 28 weeks or longer.

                                                  5
        Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.9 Page 9 of 14




 1         15.   Following the issuance of this warrant, I will collect the subject cellular
 2 telephone and subject it to analysis. All forensic analysis of the data contained within the
 3 telephone and its memory cards will employ search protocols directed exclusively to the
 4 identification and extraction of data within the scope of this warrant.
 5         16.   Based on the foregoing, identifying and extracting data subject to seizure
 6 pursuant to this warrant may require a range of data analysis techniques, including manual
 7 review, and, consequently, may take weeks or months. The personnel conducting the
 8 identification and extraction of data will complete the analysis within 90 days, absent
 9 further application to this court.
10     __             . PRIORATTEM:e.TS_T_O OBTAIN_TIDSEYIDENCE._.
11         17.   Law enforcement has not previously attempted to obtain the evidence sought
12 by this warrant.
13                                       CONCLUSION
14         18.   Based on the facts and information set forth above, there is probable cause to
15 believe that a search of the Target Devices will yield evidence of REGALADO and
16 METIA's violations of Title 21, United States Code, Sections 952 and 960.
17         19.   Because the Target Devices were seized at the time of Defendants' arrests
18 and have been securely stored since that time, there is probable cause to believe that such
19 evidence continues to exist on the Target Devices. As stated above, I believe that the
20 appropriate date range for this search is from August 1, 2019 to September 2, 2019.
21         20.   Accordingly, I request that the Court issue a warrant authorizing law
22 enforcement to search the item(s) described in Attachments A-1, A-2, and A-3 and seize
23 the items listed in Attachment B using the above-described methodology.
24
25
26
27
28

                                               6
          Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.10 Page 10 of 14




 1 I swear the foregoing is true and correct to the best of my knowledge and belief.
 2
 3
                                           Ak~d~
 4
                                           Homeland Security Investigations (HSI)
 5
 6
     Subscribed and sworn to before me this   S/ ,!I day of October, 2019.
 7
 8
   Hon. uth Bermudez Montenegro
 9 United States Magistrate Judge
JO    -   ---- - - - - -




11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               7
        Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.11 Page 11 of 14



                                      ATTACHMENT A-1

                                PROPERTY TO BE SEARCHED

     The following property is to be searched:

                   Samsung Galaxy S9 Black
                  IMEI:353302093841388
                  FP&F 2019250300071101
                  ("Target Device 1")


        Target Device 1 is currently in the possession of Homeland Security Investigations
- -- ---(HSI), Homeland SecuiityTiivestigatfons ASAC-Caiex:iCo:--2015 N. Waterman El
        Centro, CA 92243.
         Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.12 Page 12 of 14



                                       ATTACHMENT A-2

                                 PROPERTY TO BE SEARCHED

       The following property is to be searched:

                    TCL: A501DL Black
                    IMEI:015293002622748
                    FP&F 2019250300071101
                    ("Target Device 2")


          Target Device 2 is currently in the possession of Homeland Security Investigations
------ - -(HSI), Homeland Security-Investigations-ASAC Cafexico; 201 SN~ WateirnaffEl
          Centro, CA 92243.
  Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.13 Page 13 of 14



                               ATTACHMENT A-3

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

            iPhone Model Al 784 Black
            FCC ID: BCG-E3092A
            IC: 579C-E3092A
            FP&F 2019250300071101
            ("Target Device 3")


Target Device 3 is currently in the possession of Homeland Security Investigations
(HSI), Homeland Security Investigations ASAC Calexico, 2015 N. Waterman El
Centro, CA 92243.
  Case 2:19-mj-11290-RBM Document 1 Filed 10/31/19 PageID.14 Page 14 of 14




                                   ATTACHMENTB

                                 ITEMS TO BE SEIZED

       Authorization to search the cellular telephone described in Attachments A-1, A-
2 and A-3 includes the search of disks, memory cards, deleted data, remnant data, slack
space, and temporary or permanent files contained on or in the cellular telephone for
evidence described below. The seizure and search of the cellular telephone shall follow
the search methodology described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of August 1, 2019 to September 2, 2019:                                     ---- ----

      a.     tending to indicate efforts to import methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Devices; and/or

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;

which are evfdence of violations of Title 21, United States Code, Sections 952 and 960.
